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 5 Attorney for CHRISTOPHER J. HADNAGY and
   SOCIAL-ENGINEER, LLC
 6
                           UNITED STATES DISTRICT COURT
 7
                                 DISTRICT OF NEVADA
 8
 9
   CHRISTOPHER J. HADNAGY, an                Case No.: 2:23-cv-01345-CDS-BNW
10 individual; and SOCIAL-ENGINEER, LLC, a
   Pennsylvania limited liability company,   DECLARATION OF KRISTOFER
11                                           RIKLIS, ESQ. IN SUPPORT OF
                  Plaintiffs,                PLAINTIFFS’ RESPONSE IN
12                                           OPPOSITION TO DEFENDANTS’
          v.                                 MOTION TO TRANSFER VENUE [ECF
13                                           NO. 15]
   JEFF MOSS, an individual; DEF CON
14 COMMUNICATIONS, INC., a Washington
   corporation; and DOES 1-10; and ROE
15 ENTITIES 1-10, inclusive,
16               Defendants.
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 1 DECLARATION OF KRISTOFER RIKLIS, ESQ. IN SUPPORT OF PLAINTIFFS’
 2 RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO TRANSFER VENUE
 3 [ECF NO. 15]
 4          I, Kristofer Riklis, Esq., declare as follows:
 5          1. I am an attorney duly licensed to practice law in the State of Nevada and am the Owner
 6 of Riklis Law, PLLC counsel of record to Plaintiffs Christopher J. Hadnagy and Social-Engineer,
 7 LLC in the above-referenced matter. I have personal knowledge of the matters stated herein and
 8 would be competent to testify to them if called to do so.
 9          2. This Declaration is made in support of Plaintiffs’ Response in Opposition to
10 Defendants’ Motion to Transfer.
11          3. True and correct printouts of screenshots of the “FAQ” Section of Defendants’ Website
12 at https://defcon.org/html/links/dc-faq/dc-faq.html (accessed October 15, 2023) are attached hereto

13 as “Exhibit 1.”
14          4. True and correct printouts of screenshots of the “Forums” Section of Defendants’
15 Website at https://forum.defcon.org (accessed October 15, 2023) are attached hereto as “Exhibit
16 2.” Clicking on the “Def Con Forums” link on Def Con’s “Home” page located on Page 12 leads
17 to Page 13, which shows all the forums for Def Con Planning. Clicking on the “Def Con 31
18 Planning” link leads to a page with all of the Sub-Forums dedicated to all of Def Con’s activities.
19          5. True and correct printouts of screenshots of the “Book a Room” section of Defendants’

20 Website at https://defcon.org (accessed October 15, 2023) are attached hereto as “Exhibit 3.”
21 Clicking on the “Book a Room!” link on the “Home” page located on Page 23 leads to Pages 24-
22 25, which shows all the hospitality room blocks reserved for Def Con 2024. Clicking on the date
23 range shows the “Event Dates” as seen on Page 25. Clicking on “Search” brings up the various
24 hotel options seen on pages 26-30.
25          6. True and correct printouts of screenshots of the link to the “Open Calls” and Style Guide
26 Section of Defendants’ Website at https://defcon.org (accessed October 15, 2023) are attached
27 hereto as “Exhibit 4.” Clicking on the “Open Calls” link on the “Home” page located on Page 33
28 leads to Page 34, which shows all the different “Calls” applicable to the Event. For example,

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 1 Clicking on the “Call for Exhibitors” provides real-time information as to the acceptance period of
 2 the calls and provides in-depth information on how to contribute in various methods at the Event
 3 on Pages 35-38.
 4          7. True and correct printouts of screenshots of the link to the “Press Archives” Section of
 5 Defendants’ Website at https://defcon.org/html/links/dc-press/dc_press.html (accessed October 9,
 6 2023) are attached hereto as “Exhibit 5.” Reviewing the extensive archives located at that url
 7 address, Page 51 shows a link to an article by Politico entitled: “For U.S. officials, the world’s
 8 largest hacking conference isn’t all fun and games.” Clicking on that link leads to the attached
 9 article on Pages 41-49.
10          8. True and correct printouts of screenshots of the “Def Con Shoot” Forum on Defendants’
11 website at https://forum.defcon.org/node/244825 (accessed on October 29, 2023) and links to
12 Defendants’ web page at https://deviating.net/firearms/defcon_shoot/ (accessed on October 29,

13 2023) are attached hereto as “Exhibit 6”. Clicking on “THE UNOFFICIAL DEF CON SHOOT”
14 link on the “Forums” page located on Page 16 leads to Pages 54-55, which shows all the various
15 Forums for the Def Con Shoot on the Website. Clicking on “THE UNOFFICIAL DEF CON
16 SHOOT” link on Page 54 leads to the Forum shown on Pages 56-57. Clicking on the
17 “deviating.net” link on Page 56 leads to the additional published guides on Pages 58-61.
18          9. True and correct printouts of screenshots of the home page of Defendants’ Website at
19 https://defcon.org/ (accessed October 28, 2023) are attached hereto as “Exhibit 7.”

20          10. True and correct printouts of screenshots of the X (formerly Twitter) accounts of
21 Defendants (accessed October 29, 2023) are attached hereto as “Exhibit 8.” Mr. Moss’ X account
22 is “@thedarktangent” and Def Con Communications, Inc.’s X account is “@defcon”. On October
23 29, 2023, I visited each of the enumerated URL addresses on the attached posts which are hosted
24 on twitter.com; I captured the screenshots enumerated as Pages 65-83 at that time.
25          11. True and correct printouts of screenshots of the link to the “Archives By Show”
26 Section of Defendants’ Website at https://defcon.org (accessed October 17, 2023) are attached
27 hereto as “Exhibit 9.” Clicking on the “Archives By Show” link on the “Home” page located on
28 Page 85 leads to Pages 86-95.

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 1          12. True and correct printouts of screenshots of the link to the “Goons” Section of
 2 Defendants’ Website at https://defcon.org (accessed October 17, 2023) are attached hereto as
 3 “Exhibit 10.” Clicking on the “Goons” link on the “Home” page located on Page 97 leads to Pages
 4 98-132, which shows various of the Goons.
 5          13. True and correct printouts of screenshots of the Washington Secretary of State’s
 6 Corporations and Charities Filing System at https://ccfs.sos.wa.gov (accessed on October 28,
 7 2023) and http://JeffMcnamaralaw.com/contact/ (accessed on October 28, 2023) are attached
 8 hereto as “Exhibit 11”.
 9          14. True and correct printouts of screenshots of the link to the “Contact” Section of
10 Defendants’ Website at https://defcon.org (accessed October 17, 2023) are attached hereto as
11 “Exhibit 12.” Clicking on the “Contact” link on the “Home” page located on Page 140 leads to
12 Page 141.

13          15. A true and correct printouts of screenshots of the commercial website
14 https://sessionize.com/maxie-reynolds (accessed October 29, 2023) and Linkedin.com (accessed
15 October 29, 2023) are attached hereto as “Exhibit 13.” On October 29, 2023, I visited the
16 enumerated URL addresses on the attached websites; I captured the screenshots enumerated as
17 Pages 143-146.
18          16. Each page of Defendants’ website at www.defcon.org bear a copyright notation of
19 either “© 1992-2023 Def Con Communications, Inc. All Rights Reserved” or “(r) DEF CON

20 Communications, Inc. and each screenshot exhibits the related URL. These are included on the
21 last page of the exhibits.
22          17. After further investigation into the matter, Plaintiffs are informed and believe that
23 there are several individuals and entities with discoverable facts that Plaintiffs wish to identify as
24 witnesses. They are as follows:
25                  a. Marc Rogers, who is believed to have discoverable knowledge related to
26                  security measures taken at the annual Def Con event in Las Vegas, Nevada.
27                  Plaintiffs are informed and believe that he is located in California.
28                  b. Billy Boatright, who is believed to have discoverable knowledge related to Mr.

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 1                Hadnagy’s character, and is believed to have attended the annual Def Con event
 2                every year that Mr. Hadnagy did. Plaintiffs are informed and believe that he is
 3                located in Clark County, Nevada.
 4                c. Black Hat USA, which is an entity believed to have discoverable knowledge
 5                related to Defendants’ communications with them pertaining to the underlying
 6                defamatory statements of fact. Pursuant to Black Hat USA’s online presence,
 7                Plaintiffs are informed and believe that they are located in California and Nevada.
 8         I declare under penalty of perjury that the foregoing is true and correct.
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     DATED: October 30, 2023
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13                                                         /s/ Kristofer Riklis
                                                    Kristofer Riklis
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 1                                       INDEX OF EXHIBITS
 2
 3      Exhibit                       Title                     Page Numbers
 4        1              Def Con Website: FAQ Section              01-10
 5        2            Def Con Website: Forums Section             11-20
 6        3           Def Con Website: Hotel Room Block            21-31
 7        4         Def Con Website: Open Calls and Guide          32-39
 8        5        Def Con Website: Relevant Press Archives        40-52
 9        6        Def Con Website: Forums – Def Con Shoot         53-61
10        7          Def Con Website: Social Media Links           62-63
11        8        Def Con Social Media: Relevant X Account        64-83
12                       (Formerly Twitter) Marketing
13        9       Def Con Website: 30 Years of Event Archives      84-95
14        10      Def Con Website: List of Some Active Goons       96-132
15        11         Defendants’ Principal Place of Business      133-138
16
          12           Def Con Website: Contact Section           139-141
17
          13        Online Resources for Witness’ Locations       142-146
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 1                                    CERTIFICATE OF SERVICE

 2 I, Kristofer Riklis, hereby certify that the foregoing:
 3
             DECLARATION OF KRISTOFER RIKLIS, ESQ. IN SUPPORT OF
 4           PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
             TRANSFER VENUE [ECF NO. 15]
 5
     was submitted electronically for filing and/or service with the United States District Court, District
 6
     of Nevada’s e-filing system on the 30th day of October, 2023. Electronic service of the foregoing
 7
     document was be made in accordance with the E-Service List as follows:
 8
 9
      Robert J. Cassity                                  David A. Perez
10
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14
      Attorneys for Defendants
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16 Matthew J. Mertens
   PERKINS COIE LLP
17
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18 Portland, OR 97209-4128
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19

20 I further certify that I served a copy of this document by mailing a true and correct copy thereof,
21 postage prepaid, addressed to: N/A
22
23
                                           /s/ Kristofer Riklis
24
                                           KRISTOFER RIKLIS, Esq.
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